      Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

ROBERT MURPHY,                        )
4988 Keppler Road                     )
Temple Hills, MD 20748                )
                                      )
               Plaintiff,             )
                                      )         Civil Action No.
       v.                             )
                                      )         COMPLAINT AND JURY DEMAND
DISTRICT OF COLUMBIA,                 )
a Municipal Corporation,              )
441 Fourth Street, N.W.               )
Washington, D.C. 20001                )
                                      )
               Defendant.             )
                                      )
Serve:Honorable Muriel Bowser,        )
Mayor of the District of Columbia,    )
c/o Designated Representative,        )
Executive Office of the Mayor,        )
1350 Pennsylvania Avenue, N.W.,       )
Suite 316,                            )
Washington, D.C. 20004                )
                                      )
Serve: Honorable Karl A. Racine, Esq. )
Attorney General of the District      )
Of Columbia,                          )
c/o Designated Representative,        )
Office of the Attorney General        )
441 Fourth Street, N.W.               )
Washington, D.C. 20001                )
____________________________________)

                            COMPLAINT FOR DAMAGES

1.     Robert Murphy (“Mr. Murphy” or “Plaintiff”), by and through his undersigned

counsel, states and alleges as follows:

                             JURISDICTION AND VENUE

2.     This is an action authorized and instituted pursuant to the Americans with

Disabilities Act of 1990 (“ADA”), Title VII of the Civil Rights Act of 1964, the Family



                                           1
       Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 2 of 8




Medical Leave Act of 1993 (“FMLA”), D.C. Family Medical Leave Act, and the D.C.

Human Rights Act of 1977, for the D.C. Department of Corrections’ (“Agency” or

“Defendant”) unlawful termination on the basis of illegal discrimination and retaliation

against Plaintiff.

3.      This Court has subject matter jurisdiction over this suit pursuant to 28 U.S.C.

§§ 1331 and 1332(a)(1), to redress and enjoin employment practices of the Defendant.

Venue is proper in the District of Columbia District Court under 28 U.S.C. §§ 1391(b)

and (e) because a substantial part of the wrongful conduct complained of herein occurred

in this District, Defendant transacts substantial business in this District, and Defendant

maintains employment records related to this action in the District of Columbia.

                                       PARTIES

4.      Plaintiff, Mr. Robert Murphy, was an “employee” at the Agency, within the

meaning of 29 U.S.C. § 203(e), from early 1990 until July 10, 2015, and currently resides

in Temple Hills, Maryland.

5.      The Agency, District of Columbia Department of Corrections, is an executive

branch agency of the District of Columbia government charged with securing and

confining the District’s pretrial detainees and sentenced inmates. The Agency is

headquartered at 2000 14th Street, NW, Seventh Floor, Washington, DC 20009.

6.      At all times relevant to this action, Defendant was and is an “employer” within

the meaning of 29 U.S.C. § 203(d).




                                            2
      Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 3 of 8




                              STATEMENT OF FACTS

7.     Plaintiff was hired by the Agency as a correctional officer on or around March 26,

1990 and was subsequently promoted to the position of Lieutenant.

8.     Plaintiff has stage 5 kidney failure and suffers from hypertension and diabetes.

9.     Plaintiff made the Agency aware of his diagnosed disabilities in or around

January of 2015.

10.    On April 2, 2015, Plaintiff and his doctor submitted the appropriate FMLA

application to the Agency.

11.    The Agency refused to respond with an approval or denial to either Plaintiff or his

doctor’s FMLA request.

12.    Plaintiff inquired on several occasions as to the status of his FMLA request and

whether the Agency needed additional information to complete the request. Plaintiff’s

wife also made additional inquiries on his behalf.

13.    The Agency failed to respond to Plaintiff, his wife, or his doctor with regard to

Plaintiff’s FMLA request.

14.    Plaintiff suffered a heart attack on June 18, 2015, and informed the Agency that

he had been hospitalized. Plaintiff was released into the care of his primary care

physician on June 19, 2015.

15.    On June 22, 2015, Plaintiff faxed a letter to the Agency informing Defendant of

Plaintiff’s condition and again requested FMLA leave.

16.    The Agency continued to ignore Plaintiff’s requests for FMLA leave.

17.    Also on June 22, 2015, Plaintiff’s wife testified in a deposition as a key witness

against the Agency in a well-known sexual harassment lawsuit.




                                            3
       Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 4 of 8




18.    The sexual harassment lawsuit was filed against the Agency, but was focused on

the improper conduct of Plaintiff’s supervisor, Major Joseph Pettiford (“Major

Pettiford”).

19.    Upon information and belief, Major Pettiford intended to retaliate against Plaintiff

and proposed Plaintiff’s termination after Plaintiff requested FMLA leave and/or Major

Pettiford discovered Plaintiff’s wife intended to testify against Major Pettiford in the

sexual harassment lawsuit.

20.    On June 24, 2015, Plaintiff received an advanced noticed of termination from the

Agency.

21.    Plaintiff properly exhausted his administrative remedies prior to filing the

immediate lawsuit.

22.    Plaintiff received his “Right to Sue” letter from the EEOC on March 27, 2018.

                                    COUNT I
(Violations of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.)

23.    Plaintiff re-alleges and incorporates by reference each and every allegation in

paragraphs 1 to 22 above, as if fully set forth herein.

24.    The ADA addresses the needs of people with disabilities, prohibiting

discrimination   in   employment,      public       services,   public   accommodations,   and

telecommunications.

25.    Defendant discriminated against Plaintiff in violation of the ADA by failing to

accommodate Plaintiff’s disability by consistently refusing Plaintiff’s attempts to request

necessary medical leave, and retaliating against Plaintiff for requesting said medical

leave. Defendant had no legitimate business reason to terminate Plaintiff, and any reasons

offered are pretextual and false in nature.



                                                4
        Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 5 of 8




26.      The Agency was well aware of Plaintiff’s disability and knowingly and willfully

violated the ADA when it engaged in the above discriminatory acts.

27.      As a result of Defendant’s conduct, Plaintiff has suffered and continues to suffer

harm, including but not limited to: lost earnings, lost benefits, other financial losses, in

addition to emotional and physical harm.

28.      By reason of Defendant’s discrimination, Plaintiff is entitled to all legal and

equitable remedies available for violations of the ADA, including liquidated damages for

all willful violations, prejudgment interest, attorneys’ fees, expenses, costs, and costs of

the action.

                                       COUNT II
      (Violations of the Family Medical Leave Act of 1993, 29 U.S.C. § 2601, et seq.)

29.      Plaintiff re-alleges and incorporates by reference each and every allegation in

paragraphs 1 to 28 above, as if fully set forth herein.

30.      Defendant discriminated against Plaintiff in violation of the FMLA by failing to

accommodate Plaintiff’s disability by consistently refusing Plaintiff’s attempts to request

necessary FMLA leave, and retaliating against Plaintiff for requesting said FMLA leave.

Defendant had no legitimate business reason to terminate Plaintiff, and any reasons

offered are pretextual and false in nature.

31.      Defendant’s illegal actions described above, directly and proximately caused, and

continue to cause, Plaintiff to suffer loss of income and other financial benefits, a loss of

future professional opportunities and future income, pain and suffering, humiliation,

indignity, personal embarrassment and damage to her professional reputation.

32.      Defendant engaged in its discriminatory actions described above with malice or

with reckless indifference to the Plaintiff’s legal rights.



                                               5
         Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 6 of 8




                                      COUNT III
      (Violations of the D.C. Family Medical Leave Act, D.C. Code § 32–501, et seq.)

33.      Plaintiff re-alleges and incorporates by reference each and every allegation in

paragraphs 1 to 32 above, as if fully set forth herein.

34.      Defendant discriminated against Plaintiff in violation of the D.C. FMLA by

failing to accommodate Plaintiff’s disability by consistently refusing Plaintiff’s attempts

to request necessary FMLA leave, and retaliating against Plaintiff for requesting said

FMLA leave. Defendant had no legitimate business reason to terminate Plaintiff, and any

reasons offered are pretextual and false in nature.

35.      Defendant’s illegal actions described above, directly and proximately caused, and

continue to cause, Plaintiff to suffer loss of income and other financial benefits, a loss of

future professional opportunities and future income, pain and suffering, humiliation,

indignity, personal embarrassment and damage to her professional reputation.

36.      Defendant engaged in its discriminatory actions described above with malice or

with reckless indifference to the Plaintiff’s legal rights.

                     Additional and/or Alternative Retaliation Claims:

                                      COUNT IV
  (Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.)

37.      Plaintiff re-alleges and incorporates by reference each and every allegation in

paragraphs 1 to 36 above, as if fully set forth herein.

38.      Defendant fired Plaintiff as a direct result of Plaintiff’s wife testifying against

Plaintiff’s supervisor, Major Pettiford, in a sexual harassment lawsuit against the Agency.

39.      Defendant’s conduct as alleged above constitutes retaliation against the Plaintiff

because his wife engaged in activities protected by the Title VII and the D.C. Human




                                               6
       Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 7 of 8




Rights Act. Defendant had no legitimate business reason to terminate Plaintiff, and any

reasons offered are pretextual and false in nature.

40.     Defendant’s illegal actions described above, directly and proximately caused, and

continue to cause Plaintiff to suffer loss of income and other financial benefits, a loss of

future professional opportunities and future income, pain and suffering, humiliation,

indignity, personal embarrassment and damage to her professional reputation.

41.     Defendant engaged in its discriminatory actions described above with malice or

with reckless indifference to the Plaintiff’s legal rights.

                                  COUNT V
 (Violation of the D.C. Human Rights Act of 1977, D.C. Code § 2–1401.01, et seq. )

42.     Plaintiff re-alleges and incorporates by reference each and every allegation in

paragraphs 1 to 41 above, as if fully set forth herein.

43.     Defendant fired Plaintiff as a direct result of Plaintiff’s wife testifying against

Plaintiff’s supervisor, Major Pettiford, in a sexual harassment lawsuit against the Agency.

44.     Defendant’s conduct, as alleged above, constitutes retaliation against the Plaintiff

because his wife engaged in activities protected by the Title VII and the D.C. Human

Rights Act. Defendant had no legitimate business reason to terminate Plaintiff, and any

reasons offered are pretextual and false in nature.

45.     Defendant’s illegal actions described above, directly and proximately caused, and

continue to cause, Plaintiff to suffer loss of income and other financial benefits, a loss of

future professional opportunities and future income, pain and suffering, humiliation,

indignity, personal embarrassment and damage to her professional reputation.

46.     Defendant engaged in its discriminatory actions described above with malice or

with reckless indifference to the Plaintiff’s legal rights.



                                               7
      Case 1:18-cv-01478-JDB Document 1 Filed 06/22/18 Page 8 of 8




                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for

him and against Defendant and;

       (a)     Compensatory damages in the exact amount to be determined at trial, but

in no event less than $1,000,000.00;

       (b)     Attorneys’ fees and costs; and

       (c)     Such further relief as this Court deems just and fair.

                                     JURY DEMAND

       Plaintiff demands a trial by jury of all issues so triable herein.

DATED: June 22, 2018


                                               Respectfully submitted,

                                                  /s/ Donald M. Temple
                                               Donald M. Temple, Esq. [408749]
                                               1310 L Street, N.W., Suite 750
                                               Washington, D.C. 20005
                                               Tel: (202) 628-1101
                                               Fax: (202) 628-1149
                                               dtemplelaw@gmail.com




                                              8
